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                    IN THE UNITED STATES DISTRICTCOURT

                              DISTRICT OF DELAWARE


 MITCHELL CARTER and,                    )      C.A. No.: 10-721 SLR
 SARAH CARTER,                           )
                                         )
               Plaintiffs,               )
                                         )
        v.                               )
                                         )
 PAUL E. NICKLE and,                     )
 QUALITY CARRIERS, INC., and,            )
 OCL CORPORATION                         )
      Defendants.                        )


                             STIPULATION OF DISMISSAL


        IT IS HEREBY STIPULATED, that the above-captioned action is hereby

 dismissed with prejudice.


                                         _/s/ Paul Wernle, Jr._______
                                         PAUL WERNLE, JR. (#2461)
                                         92 Reads Way, Suite 106
                                         New Castle, DE 19720
                                         (302-221-3340)
                                         Attorney for Plaintiffs



                                         __/s/ Eric D. Boyle________
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 Dated: 12/22/11
